
PER CURIAM.
George N. Bula appeals his convictions of lewd and lascivious molestation, lewd and lascivious conduct and showing obscene material to a minor. Bula contends, and the State concedes, that the lewd and lascivious conduct charge was, under the facts of this case, subsumed within the identical acts encompassed in the charge of lewd and lascivious molestation. We agree, and on remand, Bula’s conviction of lewd and lascivious conduct shall be vacated. In all other respects, we affirm Bula’s convictions and sentences.
AFFIRMED in part; REVERSED in part; and REMANDED FOR CORRECTION.
ORFINGER, TORPY and JACOBUS, JJ., concur.
